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EXHIBIT

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION
MARIE JOSEPH
Case No. 1:16-cv-00465TSB
Plaintiff,
Judge Timothy S. Black
v.
RONALD JOSEPH PLAINTIFF’S THIRD SET OF
REQUESTS FOR PRODUCTION OF
Defendant. DOCUMENTS

 

 

The Plaintiff, through counsel, respectfully submits the following requests to Defendant
Ronald Joseph pursuant to Fed. R. Civ. P. 34. The requested documents are to be produced for
inspection and copying not later than January 27, 2017 at SALIX Litigation Services, 600 Vine
St., Suite 2006, Cincinnati, Ohio 45202, or at such other location as the parties may mutually agree.

DEFINITIONS AND INSTRUCTIONS

A. As used herein, “Document RJ000622” refers to the document produced in
discovery in this case by Ronald Joseph with the document identifier RJ000622 through RJ000627.

B. As used herein, “Columbia” means Columbia Oldsmobile Company and its wholly
owned subsidiaries Columbia Development Corporation, Columbia Automotive, Inc. and
Columbia REI, LLC.

C. As used herein, “Other Entities in the Joseph Auto Group” means any business
organization, other than Columbia itself and its subsidiaries, that is part of the Joseph Auto Group.

D. As used herein, “Ron’s Other Siblings” means Robert, Michael, Renee, Theresa

and Shirley or anyone acting or purporting to act on their behalf.
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E. As used herein, “U.S. Bank” means U.S. Bank, or any of its affiliated entities,
whether acting in their own right or acting as a trustee or other fiduciary.

F, As used herein, “KMK” means the law firm Keating Muething & Klekamp or any
of its attorneys.

G. As used herein, “Automotive Manufacturer” includes the parent company, its
subsidiaries, its affiliates, and anyone acting or purporting to act on behalf of any of them.

H. As used herein, “Transactions” means any conduct on or after January 1, 2008
involving actual or potential financial gain, including but not limited to (i) participation or
assistance in establishing or acquiring a business, (ii) direct or indirect ownership of an entity, (iii)
operation of an entity or any of its businesses, (iv) other participation in the business affairs of an
entity, or (v) other conduct that has produced or is intended to produce any payment, tangible
benefit or intangible benefit.

L As used herein, “communications” includes any statement or utterance, whether
written or oral, made by on person to another, or in the presence of another, and any document (as
defined below) delivered to or sent from one person to another.

J. “Documents” means all items that are subject to discovery pursuant to Fed. R. Civ.
P. 34, including Electronically Stored Information, and including any kind of written or graphic
matter, however produced or reproduced, of any kind or description, whether sent or received or
neither, including originals, copies and drafts thereof, and including, but not limited to: papers,
books, letters, correspondence, telegrams, cables, telex messages, memoranda, notes, notations,
work papers, calendar and diary entries, appointment books, minutes, transcripts, agendas, reports,
and recordings of telephone or other conversations, or of interviews, or of conferences or other

meetings, statement, summaries, opinions, report, studies, analyses, evaluations, contracts,
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agreements, journals, statistical records, list, tabulations, all other records kept by electronic,
photographic or mechanical means, things similar to the foregoing, and other documents as defined

in Rule 34 of the Federal Rules of Civil Procedure.

K. Unless otherwise specified, the time period to which these requests relate is January
1, 2008 to the present.
L. A ‘document’ is deemed to be in your control if you have the right to secure the

document, or a copy thereof, from another person or entity having actual possession or custody.

M. If a “document” is in your control, but is not in your possession or custody, identify
the document or and the person or entity with possession or custody.

N. If any “document” was, but is not longer, in your possession or subject to your
control, identify the document, state what disposition was made of it, by whom, the date or dates
on which such disposition was made and why.

O. If any “document” responsive to any of the requests no longer exists, state the
circumstances surrounding the destruction or loss of the document or and identify the last person
known to you to have had possession, custody or control of the document.

P, If you decline to produce a requested document because of any claim of privilege
or for any other reason, identify the document in a manner sufficient for the Court to identify and
review it in camera, its author or producer, its addressee or recipient, the date it was created, the
person(s) who have viewed the document or have had possession, custody or control of the
document, and specify the reason the document is not being produced.

Q. Where appropriate in these Document Requests, a singular form of a word shall be
interpreted as plural, and vice versa, and words of any particular gender shall be deemed to apply

to all genders.
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R. Where appropriate in these Document Requests, “and” as well as “or” shall be
construed either disjunctively or conjunctively as necessary to bring into the scope of these
Document Requests any information which might otherwise be construed to be outside the scope.

REQUESTS FOR PRODUCTION OF DOCUMENTS

1. Please produce all documents relating to Marie J oseph.

RESPONSE:

2. Please produce all documents relating to the shareholder rights of Marie Joseph.

RESPONSE:

3. Please produce all documents that have had an effect on the shareholder rights of
Marie Joseph at any time during the period J anuary 1, 2008 to the present.

RESPONSE:

4, Please produce all documents constituting or relating to communications with
Marie Joseph during the period January 1, 2008 to the present.

RESPONSE:
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5. Please produce all documents constituting or relating to communications with
Gregory Joseph, George Joseph, Richard Joseph or Ronald Joseph Jr. relating to any of their
respective shares in Columbia or the voting of those shares.

RESPONSE:

6. Please produce all documents constituting or relating to communications with any
of Ron’s Other Siblings relating to any of their respective shares in Columbia or the voting of those

shares.

RESPONSE:

7. Please produce all documents constituting or relating to communications with U.S.
Bank relating to any shares in Columbia or the voting of those shares.

RESPONSE:

8. Please produce all documents constituting or relating to communications with
KMK relating to any shares in Columbia or the voting of those shares.

RESPONSE:
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9. Please produce all documents used in creating the financial statements, tax returns
and balance sheets for Columbia or any of its subsidiaries.

RESPONSE:

10. Please produce all documents reporting the sales volume of Columbia’s products

and services, or the sales volume of the products and services of any of Columbia’s subsidiaries.

RESPONSE:

11. Please produce all documents relating to expenses for marketing or advertising paid
by or on behalf of Columbia or any of its subsidiaries.

RESPONSE:

12. Please produce all documents relating to any employment agreements between
Columbia and its officers and directors, including, but not limited to, non-compete agreements and

consultation agreements.

RESPONSE:
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13. Please produce all documents relating to the annual Deloitte 100 list of the largest
privately held companies in the Cincinnati area, including but not limited to any documents
constituting or relating to communications about that list.

RESPONSE:

14. Please produce all documents constituting or relating to communications with K.B.

Parrish & Co. LLP relating to Columbia.

RESPONSE:

15. Please produce all documents constituting or relating to communications with
Automotive Manufacturers relating to any dealership that is owned, controlled or operated in
whole or in part by Columbia.

RESPONSE:

16. Please produce all documents constituting or relating to actual or proposed
agreements with Automotive Manufacturers relating to any dealership that is owned, controlled or
operated in whole or in part by Columbia.

RESPONSE:
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17. Please produce all documents. relating to any Transactions between Columbia and
any Other Entities in the Joseph Auto Group.

RESPONSE:

18. Please produce all documents relating to any Transactions between Columbia and

the Defendant Ronald Joseph.

RESPONSE:

19. Please produce all documents relating to any Transactions between Columbia and
any entities other than Columbia in which Defendant Ronald Joseph had a direct or indirect
financial interest at the time of the Transaction.

RESPONSE:

20. Please produce all communications with any experts whom you anticipate calling
to testify at the trial or any hearing in this matter to the extent that those communications are
discoverable pursuant to Rule 26(b)(4)(C) of the Federal Rules of Civil Procedure because they (i)
relate to compensation for the expert’s study or testimony; (ii) identify facts or data the

Defendant’s attorney provided and that the expert considered in forming the opinions to be
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expressed; or (iii) identify assumptions that the Defendant’s attorney provided and that the expert
relied on in forming the opinions to be expressed.

RESPONSE:

21. Please produce all documents that you intend to introduce into evidence at any trial

or hearing in this matter or to make reference to at any trial or hearing in this matter.

RESPONSE:
| : : 11484
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